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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 BARBARA LOGAN,                     )
                                    )
            Plaintiff,              )
                                    )                       1:04-cv-0797-SEB-JPG
      vs.                           )
                                    )
 THE INDIANA DEPARTMENT OF          )
 CORRECTIONS, DEAN REIGER, ROSE )
 VAISVILAS, JIM LADD, RON RICE,     )
 DOUGGEHRKE, PRISON HEALTH          )
 SERVICES OF INDIANA, LLC and CRAIG )
 UNDERWOOD,                         )
                                    )
            Defendants.             )


                       ENTRY ON SUMMARY JUDGMENT MOTIONS


        Plaintiff, Barbara Logan, is a former employee of Defendant, Prison Health Services of

 Indiana, LLC (“PHS”). In January of 2003, she was terminated from her employment as

 Healthcare Administrator for PHS at an Indiana Department of Corrections (“IDOC”) facility in

 New Castle, Indiana, after refusing to accept a transfer to another IDOC facility. Logan claims

 the attempt to force her transfer and her eventual termination were in retaliation for her prior

 exercise of her first amendment right to free speech, in violation of 42 U.S.C. § 1983, and that

 the Defendants’ actions also violated Indiana’s black-listing laws, specifically Ind. Code § 22-5-

 3-3. She has named PHS, IDOC and several individual employees of both entities as Defendants

 in this lawsuit. IDOC and its employees, Dr. Dean Reiger, Rose Vaisvilas, Jim Ladd, Ron Rice

 and Doug Gehrke (“State Defendants”) are also the target of her claim of tortious interference


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 with an employment relationship. In two separate motions, all Defendants have moved for

 summary judgment in their favor.


 I.     Summary Judgment Standard


        On a motion for summary judgment, the burden rests on the moving party to demonstrate

 "that there is an absence of evidence to support the nonmoving party's case." Celotex Corp. v.

 Catrett, 477 U.S. 317, 325 (1986). After the moving party demonstrates the absence of a

 genuine issue for trial, the responsibility shifts to the non-movant to "go beyond the pleadings"

 and point to evidence of a genuine factual dispute precluding summary judgment. Id. at 322-23.

 "If the non-movant does not come forward with evidence that would reasonably permit the finder

 of fact to find in her favor on a material question, then the court must enter summary judgment

 against her." Waldridge v. American Hoechst Corp., 24 F.3d 918, 920 (7th Cir.1994) (citing

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 585-87 (1986); Celotex, 477

 U.S. at 322-24; Anderson, 477 U.S. at 249-52).


        Summary judgment is not a substitute for a trial on the merits, nor is it a vehicle for

 resolving factual disputes. Waldridge, 24 F.3d at 290. Therefore, in considering a motion for

 summary judgment, we draw all reasonable inferences in favor of the non-movant. Venters v.

 City of Delphi, 123 F.3d 956, 962 (7th Cir. 1997). If genuine doubts remain, and a reasonable

 fact-finder could find for the party opposing the motion, summary judgment is inappropriate.

 See Shields Enterprises., Inc. v. First Chicago Corp., 975 F.2d 1290, 1294 (7th Cir.1992); Wolf

 v. City of Fitchburg, 870 F.2d 1327, 1330 (7th Cir.1989). But if it is clear that a plaintiff will be




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 unable to satisfy the legal requirements necessary to establish her case, summary judgment is not

 only appropriate, but mandated. See Celotex, 477 U.S. at 322; Waldridge, 24 F.3d at 920.


 II.    Factual Background


        As the legal standard requires, we examine the facts in the light most favorable to the

 Plaintff, Barbara Logan.


             In 2002, IDOC opened a new correctional facility in New Castle, Indiana, which houses

 prisoners with special medical and mental health needs. Plaintiff, who had significant prior

 mental health administration experience, sought and obtained employment as the Healthcare

 Administrator (“HCA”) at the facility. Her employment was with PHS, a private corporation

 which has a contract with IDOC to provide professional staff, such as licensed physicians,

 dentists, psychologists and healthcare administrators to IDOC facilities. Logan’s immediate

 supervisor at PHS was Carey Harris and Defendant Craig Underwood was the Division Vice-

 President. Defendants Rice and Gehrke were the Superintendent and Assistant Superintendent,

 respectively, at the New Castle facility. They were employed by IDOC, as was Lee Ann Lewis,

 the Director of Nursing (“DON”) at New Castle and Defendant Vaisvilas, the Nursing Director

 over all IDOC facilities. Defendant Reiger is the IDOC Medical Director and Defendant Ladd is

 IDOC’s Deputy Commissioner for Programs. IDOC had authority to approve any PHS

 appointment to an HCA position and PHS obtained that approval prior to offering Logan the

 position.




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         The department’s approval of Logan as HCA at New Castle was short-lived. After the

 facility opened in April of 2002, things went well for a few months. However, as the lead health

 care administrator at the facility, Logan became increasingly concerned with the inadequate

 level of nursing care being provided. The handling and dispensing of medicine, the timely

 completion of health screens and assessments and the timely completion of doctor’s orders were

 all areas of nursing responsibility that Logan found to be in great disarray. In short, she believed

 that the DON, Ms. Lewis, was inexplicably absent from her duties too often and not living up to

 her responsibilities in directing the nursing program. After unsuccessfully attempting to prompt

 change on her own, Logan went to her own supervision as well as the IDOC facility leadership

 with her concerns in an attempt to instigate improvements. Initially, her concerns were well

 received and promises of some type of corrective action were made by the local IDOC

 authorities. Eventually, however, Logan, rather than Lewis, became the target of IDOC’s

 response relative to the administration of healthcare at the facility and pressure was applied to

 PHS by IDOC to remove Logan from the New Castle facility and place her at some other

 facility.


         Logan pegs her own problems to having opined that Lewis needed to be removed from

 the DON position at New Castle because in Logan’s opinion the nursing problems had become

 extremely critical, to a point of bordering on criminal neglect. A meeting was held on August

 16, 2002 at IDOC headquarters in Indianapolis. In attendance at the meeting were Logan,

 Underwood, and Harris from PHS, and IDOC employees Reiger, Ladd, Vaisvilas, Rice, Gehrke,

 Jim Fistervich (Budget Director) and Chuck Miller (Northern Regional Director). During that

 meeting, Logan addressed the group and gave examples to support her belief that poor nursing

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 care at the facility had reached a critical level, leaving no choice but to remove Lewis and find a

 new DON for the facility. According to Logan, her reports of poor nursing care were not well

 received by any of the IDOC executive staff. Vaisvilas took issue with Logan’s account and

 directed some angry comments at Logan, similar to remarks she had made in a telephone

 conversation with Logan prior to the meeting after hearing from others of Logan’s dissatisfaction

 with Lewis. The other executives from IDOC headquarters seemed to center their attention on

 Rice and Gehrke who had first line supervisory responsibility for Lewis’s performance. The

 suggestion by Logan, a PHS employee, that IDOC remove Lewis from the DON position, was

 not specifically her responsibility as a PHS employed administrator, but she felt strongly that

 something had to be done to correct what had become a near crisis situation. She left the

 meeting with the sense that she had gotten her point across and that the IDOC executives were in

 general agreement with her that Lewis needed to be replaced.


        However, during a break in the meeting, Gehrke informed the regional director that,

 despite some effort to record performance deficiencies on the part of Lewis, in his opinion there

 was insufficient documentation to support Lewis’s immediate removal from the DON position

 for poor performance. Vaisvilas also was not in favor of removing Lewis as DON. Essentially,

 Gehrke wanted more time to document performance problems to assure that if no improvement

 was made she could be replaced without fear of reprisal on her part for a lack of notice. After

 the meeting reconvened that day, a number of additional topics were discussed. PHS

 representatives eventually departed and the IDOC contingent decided that it would be best to put

 Lewis on a performance improvement plan, as suggested by Vaisvilas and Gehrke, to assure that

 she “got the

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 message” with regard to the concerns raised regarding nursing care at the facility and also had a

 chance to improve her performance as a DON.


        Prior to the August 16th meeting, Logan had never had any concerns voiced to her

 regarding her own performance as HCA at New Castle. That changed shortly after the meeting.

 Gehrke became hypercritical of Logan’s performance and directed her to work several evening

 and midnight shifts during the week, creating an extremely difficult work schedule for her.

 Lewis was informed of Logan’s attempt to have her removed and she confronted Logan about

 the effort, telling Logan that she had been around IDOC a long time and could show her a thing

 or two about “how the game was played.” Their relationship grew extremely cold. Lewis

 retained a key to Logan’s office and Logan maintains that things began to disappear from her

 office. IDOC employees from outside the New Castle facility were called in to review Logan’s

 work. Defendant Reiger came to New Castle to meet with Logan and Lewis, indicating to Logan

 that it was much easier for IDOC to remove an administrator then it was to remove a DON,

 because all that was necessary was for IDOC to tell PHS that the HCA was no longer acceptable

 and PHS had no choice but to follow IDOC’s direction and find someone else to fill that role.

 Gehrke later barred Logan from attending nursing meetings and told nurses to bring all health

 care issues to Lewis’s attention and not discuss them with Logan. According to Gehrke, the lack

 of effective communication between Logan and Lewis made it extremely difficult to effectively

 monitor the progress of the medical care programs. According to Logan, she continued her

 efforts to act professionally but was stripped of responsibility and retaliated against by Gehrke,

 Rice and Vaisvilas.




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        After additional complaints from Rice were voiced regarding Logan’s completion of

 health care directives, her medical audit meeting minutes and her relationship with the DON, a

 meeting was held in November of 2002 between IDOC authorities and Underwood from PHS.

 Some of the specifics with respect to what was said and who made certain remarks are matters in

 dispute, but IDOC’s general position in these discussions with PHS is not in dispute. IDOC’s

 message was that Logan needed to go, and, to their way of thinking, having her trade places with

 the HCA at the nearby IDOC Pendleton facility made the most sense.


        On December 13, 2002, Underwood told Logan that she was being removed as HCA at

 New Castle and was being given the option of a transfer to Pendleton. Logan maintains that

 Underwood agreed with her that this action by IDOC was in retaliation for her complaints about

 the nursing care, but Underwood indicated he had no choice in taking this action because he had

 a contract he needed to protect. Logan’s immediate reaction was to refuse the transfer, citing her

 need to work close to her home due to her husband’s disability, her refusal to be “shut up” about

 inadequate healthcare and the fact that she was attracted to the HCA position at New Castle

 because it was a unique special-needs facility, which was not the situation at Pendleton.

 Underwood gave Logan two weeks of vacation leave during which she could reconsider the offer

 since she would no longer be allowed to work at the New Castle facility. On January 7, 2003,

 Logan and Underwood met again and Logan informed him that she had not changed her mind,

 would not accept the transfer, was certain that this was all done in retaliation and that she would

 appreciate his support of her efforts to remain at New Castle. Alas, Underwood did not back her,

 and, in anticipation of her unwillingness to drop the fight, asked her not to name PHS in any

 subsequent lawsuit. He then terminated her employment. Interestingly, two months later, Rice

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 removed Lewis from the DON position at New Castle but, after filing a grievance and securing

 the backing of Vaisvilas, Lewis was transferred to a quality assurance position at IDOC

 headquarters in Indianapolis.


 III.   Discussion


        A.      Whistleblower Claim - IND. CODE § 23-5-3-3


        In bringing this action, Plaintiff cites IND. CODE § 23-5-3-3 as Indiana’s whistleblower

 protection statute. Though it is codified under the state’s black-listing laws, it does provide some

 protection to those who bring the unethical or illegal practices of their employers to the attention

 of authorities. However, its protection is quite limited, and whether it actually provides a private

 cause of action has yet to be determined by Indiana courts. In pertinent part, the statute

 provides:

        (a) An employee of a private employer that is under public contract may report in
        writing the existence of :
                (1) A violation of a federal law or regulation;
                (2) A violation of state law or rule;
                (3) A violation of an ordinance of a political subdivision (as
                defined in IC 36-1-2-13); or
                (4) The misuse of public resources;
        concerning the execution of a public contract first to the private employer, unless
        the private employer is the person whom the employee believes is committing the
        violation or misuse of public resources. ... If a good faith effort is not made to
        correct the problem within a reasonable time, the employee may submit a written
        report of the incident to any person, agency, or organization.

        (b) For having made a report under subsection (a), an employee may not:
                (1) Be dismissed from employment;
                (2) Have salary increases or employment related benefits withheld;
                (3) Be transferred or reassigned;




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                (4) Be denied a promotion that the employee otherwise would have
                received; or
                (5) Be demoted.

 IND. CODE § 22-5-3-3.


        Logan clearly qualifies as an employee of a private employer which is party to a public

 contract.1 That said, we need more than a shoehorn to make the facts of this case fit the context

 of this statute. Logan asserts that she reported, in writing, conduct that amounted to several

 violations of state laws and rules, pointing to an undated incident report she authored which she

 says was sent to IDOC on August 13, 20022, a September 22, 2002 memo to PHS Vice-President

 Underwood3, and an October 2002 memo to internal affairs investigators at IDOC, which the

        1
          In attempting to hold the State Defendants liable under the statute, Logan contends in
 her reply brief that the doctrine of dual employment should apply here, making both IDOC and
 PHS her employer. Indiana has recognized, for purposes of workers’ compensation, that if two
 employers associate themselves together so that both are in direct control of the employee and
 the employee is accountable to both, they can both be considered that employee’s employer.
 GKN Co. v. Magness, 744 N.E.2d 397, 402 (Ind. 2001). However, our research has failed to
 disclose any Indiana decision extending that doctrine beyond a determination of whether the
 exclusivity provisions of Indiana workers’ compensation laws apply to deny subject matter
 jurisdiction to a state trial court. We are not inclined on our own to extend the application of the
 dual employer doctrine to other areas of Indiana law. Further, Logan does not allege in her
 complaint that IDOC was her employer; her reply brief contains the first mention of her adoption
 of the dual employer theory. Even if we applied the Magness seven-factor test to determine if an
 employer-employee relationship exists, we think the relationship between IDOC and Logan
 would fall short of that standard.
        2
          Logan refers to the incident report as being nine pages in length. However, the incident
 report submitted with her supporting materials is only three pages long containing criticism of
 the DON with specific references to two incidents involving an undetected bowel obstruction
 suffered by an offender and an offender with a broken arm that went untreated for some time.
        3
          The copy of the memo submitted by Logan with her supporting materials is almost
 indecipherable. Despite its “fuzzy” format, we perceive it to be a report on an incident with
 respect to a collaborating outside professional and procedural issues regarding gate passes and
 consulting agreements for outside professionals, for which Logan complains of being unduly
 criticized and berated by Lewis and Vaisvilas.

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  investigations department had requested.4 She does not claim in any of these documents that a

  state law or rule is being violated, and while the latter document includes her complaints of

  doctors orders not being followed and medications not being properly accounted for (potential

  professional malpractice and ethical issues), it is difficult to categorize the writings as reports of

  illegal activities. In addition, the statute requires that the report of violations be “concerning the

  execution” of the public contract. Logan complains of the actions, or lack thereof, of

  government employees, not of a problem in her private employer’s execution of the public

  contract. Perhaps most importantly, Logan has been adamant in her argument that the retaliation

  began immediately following her verbalization of her concerns and her request for Lewis’s

  removal at the meeting at IDOC headquarters on August 16, 2002. Only one of the memos

  predates that meeting and it clearly is not a report of violations of state laws or regulations. If

  the retaliation is based upon her verbal statements at an administrative meeting, and her

  statements did not include a mention of laws or rules being broken, IND. CODE § 22-5-3-3

  would not apply. The requirement that any retaliation against Logan be based on her making a

  written report complaining of violations of state law or rules in connection with the execution of

  a public contract has simply not been satisfied.


         While there is evidence to support a finding of retaliation against Logan, it is, as she

  herself seems to emphasize in all other arguments, related to her exposing critical health care

  issues and trying to have Lewis removed as the DON at New Castle for neglecting her official



         4
           This document is a nine page narrative of past and ongoing problems she perceived with
  respect to the nursing care at New Castle and the lack of cooperation and communication she
  faces. It is particularly critical of the DON, as well as Gehrke and Vaisvilas.

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  responsibilities. Such conduct is not actionable under IND. CODE § 22-5-3-3, assuming that

  statute provides a private right of action which is a question we are spared from deciding under

  theses facts. We shall leave that question to Indiana appellate courts to decide in a future case.


         B.      Tortious Interference With an Employment Relationship


         Under Indiana law, a tortious interference claim may be brought with respect to an

  employment relationship even if that relationship is based on at-will employment. Bochnowski

  v. Peoples Federal Sav. & Loan Ass’n., 571 N.E.2d 282 (Ind. 1991). However, since the essence

  of the claim is that someone outside the employment relationship in some manner scuttled what

  otherwise would have continued indefinitely, the claim may only be brought against a third

  party, not against the employer itself. Therefore, PHS, along with Underwood, who was acting

  in his capacity as a PHS employee, are not subject to such a claim. That leaves IDOC and the

  individual state employees as the only viable defendants in this cause of action.


         The elements of the tortious interference claim are: (1) the existence of a valid

  employment relationship; (2) the defendant's knowledge of the existence of the relationship; (3)

  the defendant's intentional interference with that relationship; (4) the absence of justification;

  and (5) damages resulting from defendant's wrongful interference with the relationship. Bradley

  v. Hall, 720 N.E.2d 747, 750 (Ind. App. 1999). There is no dispute over Plaintiff’s having

  demonstrated the first three of these five elements. However, Defendants do challenge the final

  two, claiming that there was justification for their intervention and that PHS’s termination of

  Logan’s employment, not the transfer they suggested when they intervened, was the injury

  resulting in damages to Logan.

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         Defendants’ argument that there was justification for intervention appears well- taken,

  but for the fact that it is founded on what they claim to be the intentions of the individuals

  involved. There is certainly enough evidence of record to reach conclusions other than those

  posited by Defendants with respect to their true intentions. Simply stated, on this matter we have

  a material factual dispute. The effect of Lewis’s and Logan’s poor working relationship may

  have been the motivation for actions taken by the Defendants, including their request that she be

  removed as HCA, or there may have been a more vindictive and legally impermissible reason for

  stripping her of many responsibilities and barring others from communicating with her regarding

  important nursing program data, before requesting her removal from her position.


         As for damages, that issue is one of proximate cause. If Logan successfully convinces a

  jury that one or more defendants was not justified in interfering with her employment

  relationship, Logan will then need also to prove that “but for” the interference of that Defendant,

  she would not have lost her job. Hawkins v. Cannon, 826 N.E.2d 658, 662-663 (Ind. App.

  2005). Certain of the named defendants are lower level managers who did not specifically

  participate in the meeting with Underwood, at which it was made clear that IDOC wanted Logan

  removed from the New Castle facility. They argue that they can not be found liable because they

  made no recommendation or demand to PHS with respect to Logan’s continued employment.

  That may be true, unless the conduct of Vaisvilas, Gehrke or any of the named defendants set in

  motion a chain of events that caused Logan’s foreseeable damages and was uninterrupted by any

  superseding or intervening cause; then they could be found liable. See Paragon Family

  Restaurant v. Bartolini, 799 N.E.2d 1048, 1054 (Ind. 2003). Whether the resulting harm to

  Logan was foreseeable is, of course, another question of fact for the jury to decide. Control

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  Techniques, Inc. v. Johnson, 762 N.E.2d 104, 107 (Ind. 2002). Summary judgment is rarely

  appropriate for tort claims where a defendant’s intent and conduct must be judged. This case

  presents no exception to that general rule. Too many questions of fact remain for us to grant

  summary judgment on Logan’s claim of tortious interference as to any defendants, other than

  PHS and Underwood, whose dismissal as to this cause of action we will grant.


         C.      Liability Under § 19835


         The prerequisites to successfully prosecuting a claim of retaliation for the exercise of

  First Amendment rights are: (1) plaintiff’s engagement in speech which is constitutionally

  protected under then existing circumstances, and (2) retaliation against plaintiff by the

  defendants because of the protected speech. Gustafson v. Jones, 117 F.3d 1015, 1018 (7th Cir.

  1997). Obviously, the retaliation must have occurred under “color of law,” to establish

  individual liability under 42 U.S.C. § 1983. Cunningham v. Southlake Center For Mental

  Health,Inc., 924 F.2d 106, 107 (7th Cir. 1991).


         Defendants jointly argue that Logan’s case fails to satisfy the critical requirement that

  her speech was of the type protected under the First Amendment. They maintain that Logan’s

  speech did not concern a matter of public moment and that, even if it did, it would not survive




         5
          We realize that the Supreme Court has recently heard oral argument in the case of
  Garcetti, et al. V. Ceballos, No. 04-473, an appeal from the Ninth Circuit which presents a
  question with regard to whether First Amendment protection should be accorded job-related
  speech simply because it touches on matters of public concern. While further instruction may be
  forthcoming with regard to this area of the law, we decide this claim on the basis of current
  precedent from the Supreme Court and our Seventh Circuit Court of Appeals.

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  the balancing of interests test applied in these types of cases.6 To determine if Logan’s

  complaint regarding the facility’s poor nursing practices amounts to constitutionally protected

  speech, we apply the familiar two-part Connick-Pickering test. Coady v. Steil, 187 F.3d 727,

  731 (7th Cir.1999)(citing, Connick v. Myers, 461 U.S. 138 (1983) and Pickering v. Board of Ed.

  Of Tp. High School District 205, Will County, Illinois., 391 U.S. 563 (1968)). The first part of

  the test examines whether plaintiff’s speech addresses a matter of public concern and, if so, then

  we reach the second part which requires that the citizen employee’s interest in commenting be

  balanced against the government’s interest in providing efficient public service. Id.


         Whether Logan’s complaints addressed a matter of public concern is a question of law

  for the court to determine. Kokkinis v. Ivkovich, 185 F.3d 840, 843 (7th Cir. 1999). Generally,

  the Seventh Circuit directs that the airing of private grievances in the form of more general

  complaints about a public institution does not change the fact that the gripe is a personal one.

  E.g., Wright v. Illinois Dept. of Children & Family Services, 40 F.3d 1492, 1494 (7th Cir. 1994).

  We must examine the content, form and context of Logan’s suggestions and complaints to

  determine if they were primarily an employee grievance or a comment of general public concern.

  Cygan v. Wisconsin Dept. of Corrections, 388 F.3d 1092, 1099 (7th Cir. 2004).



         6
           It is interesting to note that IDOC argues in favor of the application of the two-part
  Connick-Pickering (Connick v. Myers, 461 U.S. 138 (1983); Pickering v. Board of Ed. Of Tp.
  High School District 205, Will County, Illinois, 391 U.S. 563 (1968)) balancing test, which is
  traditionally applied to determine if the speech of a public employee is protected, while
  maintaining that it can not be held liable under § 1983 because Logan was a private employee.
  Though we reject this latter contention for the reasons discussed in this entry, we do agree with
  IDOC that the nature of Logan’s employment as the HCA at a public correctional facility which
  is charged by law with carrying out the responsibilities imposed on the state makes the
  application of the Connick-Pickering test appropriate.

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         The clear fact is that, through the time Logan met in Indianapolis with IDOC officials

  and others from PHS, her statements about poor nursing care at the hospital were not a personal

  grievance but a matter that Logan sought to correct for the benefit of the offenders, consistent

  with the general public interest in having offenders housed and treated humanely. There is no

  evidence to indicate that her suggestion that the DON be replaced was not a personal reprisal or

  vendetta, but rather an assessment by an outsider to IDOC of how best to resolve a significant

  problem. Her later protestations may have included some personal issues or gripes, but the

  speech that prompted the retaliatory action was most definitely related to a matter of general

  public concern. This determination is consistent with the holdings of at least three circuit courts

  who also have found that the quality of care given those confined by the State is a matter of

  public concern. Catletti ex rel. estate of Catletti v. Rampe, 334 F.3d 225, 230 (2nd Cir. 2003);

  Ramirez v. Oklahoma Dept. of Mental Health, 41 F.3d 584, 596 (10th Cir.1994), overruled on

  other grounds by Ellis v. University of Kansas Medical Center, 163 F.3d 1186, 1194-1197 (10th

  Cir.1998); Frazier v. King, 873 F.2d 820, 825 (5th Cir. 1989).


         We move next to the task of balancing the interest of IDOC in assuring efficient

  operations at its facility against the interest of Logan in speaking out on the poor nursing care

  there. We have no difficulty concluding that Logan’s report of poor nursing involved a matter of

  significant concern to and on behalf of offenders. She reported a person with a broken arm

  going without treatment, doctors’ medications orders being ignored or postponed and health

  screenings for newly transferred offenders not being conducted so that the chance of a medically

  infected inmate passing his condition on to others was significantly increased. Defendants argue

  that, to the extent Rice pushed for PHS to remove Logan, it was out of appropriate concern for

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  the fact that a quality healthcare program at New Castle was impossible to achieve when the

  head of nursing could not get along with the lead administrator. In Defendants’ view, one or

  both needed to go and, as it turned out, both were in fact moved elsewhere. While Lewis’s and

  Logan’s inability to work together may have been a legitimate concern on the part of Rice and

  Gehrke, their actions in stripping Logan of nearly all responsibility with respect to anything that

  required interaction with nursing left little need for her to relate on any regular basis with the

  DON.


           In the final analysis, the factors most often considered in a Pickering balancing analysis

  work in Logan’s favor; these factors include: (1) whether the speech would create problems in

  maintaining discipline or harmony among co-workers; (2) whether the employment relationship

  is one in which personal loyalty and confidence are necessary; (3) whether the speech impeded

  the employee's ability to perform her responsibilities; (4) the time, place and manner of the

  speech; (5) the context in which the underlying dispute arose; (6) whether the matter was one on

  which debate was vital to informed decision making; and (7) whether the speaker should be

  regarded as a member of the general public. Greer v. Amesqua, 212 F.3d 358, 371 (7th Cir.

  2000).


           The evidence does not indicate that Logan’s complaints regarding poor nursing care

  disrupted the workplace or caused a lack of harmony, until Vaisvilas informed Lewis of Logan’s

  suggestion that she be removed as DON, after which time apparently only the working

  relationship between Lewis and Logan was particularly unharmonious. No overriding loyalty

  was implicit in Logan’s position and her speech not only did not impede her ability to do her job,


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  it was designed to enhance it. To a certain degree, the time, place and manner of the speech are

  representative of employee speech related to the processes of the workplace, as opposed to

  speech expressing public concerns. However, the specific context of Logan’s speech is that of a

  contract employee whose concerns regarding the quality of the healthcare at a State institution

  reached a level which finally impelled her to depart from her normal role and responsibilities by

  recommending to senior agency officials that they take a major personnel action because of the

  seriousness of the problem, and because nothing else she had done had brought about necessary

  improvement. The context of such a departure from the norm weighs more heavily in favor of

  finding the speech as bearing on a matter of significant public concern. In conducting this

  analysis, we conclude that the balance clearly favors Logan’s interest in reporting what she had

  seen and experienced concerning the deteriorating quality of care for the prisoners.


         The testimony of record gives rise to a reasonable inference that Vaisvilas, Gehrke and

  Rice were at least as concerned about defending themselves and their respective positions, in

  light of IDOC’s concerns over the issues raised by Logan, as they were in assuring the efficient

  operation of services at the New Castle facility. Vaisvilas, for example, told Logan that she had

  not seen “hell” until she tried to remove a DON, and then threatened that things would only get

  worse for Logan. Neither Rice nor Gehrke had any criticism of Logan’s performance as HCA

  until after the August 16th meeting when their own supervisors became concerned over the health

  care issues at New Castle brought to light by Logan; even then, Rice and Gehrke’s criticisms

  lacked meaningful substance. Dr. Reiger’s admitted statement to Logan that everyone thought it

  was easier to remove an HCA than a DON can also certainly be viewed as a not to subtle attempt

  to chill any propensity by Logan’s to register further complaints. The temporal proximity

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  between Logan’s speech and the criticisms of her previously unquestioned performance is also

  relevant in deciding whether Logan’s remarks played a substantial role in the decision to remove

  her from her position, or whether she would have been removed regardless of her speech.


         In conclusion, we find that the plaintiff has carried her burden, at least through this stage

  of the litigation, to establish as a matter of law that her speech was directed to a matter of public

  concern and that, in balance, her interest in raising the issue outweighed or at least equaled the

  State’s interest in efficiently providing services. Stated otherwise, we hold that her speech was

  constitutionally protected. Whether Logan was retaliated against because of her speech,

  however, is a question of fact. We have previously pointed out evidence that could lead to the

  conclusion that she was indeed the target of retaliatory conduct. Defendants’ contention that she

  would have been relieved of her position regardless of her speech is another factual matter

  reserved for later resolution, undermined by the fact that the criticism of her performance was

  based on relatively minor concerns and came only after Logan had pointed out critical healthcare

  problems to IDOC.


         IDOC and its employees contend further that they can not be held liable because IDOC

  was not Logan’s employer. PHS and Underwood raise the “color of law” requirement, arguing

  that Underwood clearly acted in his capacity as a Vice-President of a private company, PHS, in

  terminating Logan following her refusal to accept a transfer. “When a private actor is

  implicated, the section 1983 plaintiff may nevertheless prevail if (she) shows sufficient state

  involvement in the decision to trigger constitutional protection.” Cunningham, 924 F.2d at 107.

  Thus, if Underwood/PHS as a private actor willfully participated in joint action with the State of


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  its agents while sharing an unconstitutional goal, that is enough to establish that the private

  actor was part of a conspiracy in satisfaction of the “color of law” requirement. Stagman v.

  Ryan, 176 F.3d 986, 1003 (7th Cir. 1999).


         Logan cites the Seventh Circuit’s reversal of a summary judgment in Malak v. Associated

  Physicians, Inc., 784 F.2d 277 (7th Cir. 1986) as a case directly on point with the circumstances

  in this case. In Malak, an emergency room physician at a public hospital publicly criticized

  emergency room conditions at the hospital. Id. at 278. Like Logan, he was employed by a

  private entity that had contracted with the county hospital to operate its emergency room

  services, including the provision of staff physicians. Id. When his private employer terminated

  his employment and the hospital revoked his staff privileges, Dr. Malak brought an action

  against the private employer, the hospital Board of Trustees, two of its employees and two

  officers of the private employer, claiming that the group of private and public defendants

  conspired to terminate his employment because of his public criticism of the emergency room

  conditions. Id. The district court ruled that the plaintiff failed to prove that any acts undertaken

  by the defendants constituted state action. Id. at 279. On appeal, the Seventh Circuit reversed

  and remanded the case for further proceedings. Id. at 284.


         The Court of Appeals found that those involved on behalf of the hospital were high

  enough up the management chain to be policymakers, which allowed the hospital to be a viable

  defendant, if plaintiff could prove a conspiracy between the hospital and the private employer.

  Id. at 283. It also found that a doctor’s affidavit stating that he heard one of the private company

  officers say that the termination was a joint decision between his company and the hospital,


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  along with a nurse’s testimony supporting a similar conclusion based on the actions of the

  individual hospital employee defendants, were enough for plaintiff to survive summary

  judgment. Id. at 281-282. We share Logan’s view that the Malak case is applicable precedent

  to the case at bar.


          The testimony regarding a December 2002 meeting (or meetings) between IDOC

  officials and Underwood which resulted in Logan’s being relieved of her post at New Castle is

  not entirely consistent, but there is more than enough evidence to support an inference that IDOC

  and PHS, though perhaps possessing separate motivations, shared a common goal of silencing

  Logan’s criticism of the nursing care program by removing her from the HCA position at New

  Castle. Underwood testified that Defendants Rice and Ladd stated to him that they wanted

  Logan out of the facility immediately. Ladd confirmed that a discussion of Logan’s termination

  did occur, but he could not remember who said what concerning the actions to be taken. And

  Rice testified that he believed it was Underwood and IDOC’s Chuck Miller who came up with

  the idea of having Logan switch facilities, by moving from the position of HCA at New Castle to

  HCA at Pendleton. While Underwood may have sought simply to protect the PHS contract with

  IDOC while IDOC officials possessed a more nefarious interest, there is nonetheless ample

  evidence that PHS and Underwood cooperated with IDOC in targeting Logan in retaliation for

  her efforts to correct nursing healthcare delivery problems at New Castle by recommending that

  a replacement be found for the DON. A person can be deemed a co-conspirator simply on the

  basis of his knowledge of the illegal intent and actions in cooperation with or acquiescence in

  achieving the goal. See U.S. v. Paramount Pictures, 334 U.S. 131, 161 (1948); U.S. v. Albarran,

  233 F.3d 972, 976 (7th Cir. 2000). The fact that IDOC was not Logan’s employer and PHS was

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  not an agency of the State is not controlling in the face of evidence that together their actions

  were directed towards accomplishing the goal set by managers within the State agency. This

  combined activity satisfies the “color of law” requirement of § 1983, as a matter of law, but

  questions of material fact prevent the possibility of summary judgment.


         Individual Defendants Vaisvilas, Gehrke and Dr. Reiger contend that because they did

  not directly participate in the decision to remove Logan from the New Castle facility and had no

  role in the termination of her employment with PHS, they are freed from liability under § 1983.

  However, the evidence suggests that all three Defendants were conspicuous participants in the

  threats and criticisms of Logan, which suggests the possibility of there having been a “cat’s paw”

  in this situation. The “cat’s paw” doctrine (where the named decision makers were substantially

  directed or influenced by others who acted with retaliatory or discriminatory motives, thus

  undermining the independence of the official actors) in establishing § 1983 liability has not

  occurred as frequently as in Title VII discrimination cases. Nonetheless, there have been

  decisions discussing and approving its application under § 1983, see, e.g. Crabb v. Itawamba

  County, Mississippi, Slip Copy, 2005 WL 2648017 (N.D.Miss. Oct. 17, 2005); Kmetz v. State

  Historical Society, 304 F.Supp.2d 1108, 1131 (W.D.Wis. 2004). We are spared the necessity of

  exploring the interstices of this somewhat obscure doctrine, however, because Logan herself

  failed to respond to Defendants’ argument that they lacked any personal involvement in the

  decision to remove her from her post and therefore should not be held liable. In the absence of

  evidence of record supporting a “cat’s paw” theory, summary judgment shall be entered in favor

  of Defendants Vaisvilas, Gehrke and Dr. Reiger.




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         All that remains at this point are the Eleventh Amendment defenses of sovereign

  immunity and the State Defendants’ claim of a lack of status as a “person” under § 1983.7 Will

  v. Michigan Dept. of State Police, 491 U.S. 58 (1989) established that § 1983 suits brought

  against a state agency or an agency employee acting in his official capacity may not be brought

  unless only prospective relief is sought. According to Will, only when an agency official is

  acting in his individual capacity, and under color of law, may he or she be subject to liability

  under § 1983. The Supreme Court has determined that Congress had no intention of overriding

  Eleventh Amendment sovereign immunity principles by including States as persons who could

  be sued under § 1983. Id. at 2309-2310. Consequently, summary judgment in favor of IDOC

  and the individual IDOC employees acting in their official capacities is proper with respect to

  Plaintiff’s § 1983 claim, because Plaintiff pursues damages and not prospective relief.


  IV.    Conclusion


         For the reasons discussed above, the Motion for Summary Judgment filed by Defendants

  Underwood and PHS (Docket # 34) is GRANTED IN PART and DENIED IN PART. The State

  Defendants’ Motion For Summary Judgment (Docket # 37) is also GRANTED IN PART and

  DENIED IN PART. Summary judgment shall enter in favor of all Defendants with respect to

  Plaintiff’s claim under IND. CODE § 22-5-3-3. Plaintiff’s claim of tortious interference with her

  employment relationship shall proceed as against Defendants IDOC, Reiger, Vaisvilas, Ladd,


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           Defendants have raised a sovereign immunity defense to which Logan has responded by
  arguing that “qualified immunity” should not attach. We cannot discern whether this briefing
  error occurred intentionally or by inadvertence. Obviously, the two theories are very different.
  Since Defendants have not asserted a qualified immunity defense, we have not addressed the
  issue in this order.

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  Rice and Gehrke. Summary judgment shall enter in favor of Defendants PHS and Underwood

  on the tortious interference claim. Finally, Plaintiff’s § 1983 claim shall proceed against

  Defendants Ladd, Rice, PHS and Underwood, in their individual capacities, but summary

  judgment shall enter in favor of all Defendants acting in their official capacities and Defendants

  IDOC, Reiger, Vaisvilas and Gehrke in their individual capacities as well.


         IT IS SO ORDERED

           11/08/2005

                                                           _______________________________
                                                           SARAH EVANS BARKER, JUDGE
                                                           United States District Court
                                                           Southern District of Indiana




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